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                                   STATEMENT OF FACTS

        Your Affiant, David J. DiMarco, is a Special Agent with the Federal Bureau of
Investigation (FBI) and has been so employed since 2004. Specifically, I am assigned to the
Washington Field Office (WFO), Northern Virginia Violent Crimes Task Force. I am currently
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As an FBI Special Agent, I have participated in numerous investigations involving unlawful
narcotics distribution, organized crime, bank robberies, homicides, kidnappings, threat cases,
unlawful firearm cases and other violent criminal offenses. In these investigations, I have been
involved in the application for and execution of numerous arrest warrants related to the
aforementioned criminal offenses. Through my training and experience, I am familiar with the
actions, habits, traits, methods, and terminology utilized by violent criminal offenders. I have
been a sworn law enforcement officer during all times herein.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                     FACTS RELATED TO KEVIN LOUIS GALETTO

       During the course of my investigation, I reviewed several hours of video that was obtained
via social media, law enforcement body cameras, and surveillance cameras located on the U.S.
Capitol grounds. I was assigned to identify and locate the subject who was listed as BOLO (Be
On the Look-Out) 146.

       Captured from a post on Twitter from #Seditionhunters:




        A possible subject resembling KEVIN LOUIS GALETTO, DOB 03/18/1960 was
identified by Customs Border Patrol (CBP) who conducted a facial comparison query of images
maintained in or accessed through CBP systems at the request of the FBI to identify possible
persons being investigated for criminal activities on January 6, 2021.
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Review of Records

        Additional research was conducted on GALETTO in law enforcement databases, open
source and social media queries, and subpoenaed records. The records revealed GALETTO is
currently residing in Westminster, California. Database results on GALETTO also revealed
cellular telephone 714-894-9561 was utilized by GALETTO in a 2013 United States Passport
Application.

       Subpoena results received from Google revealed GALETTO’s email address utilized
recovery phone number 714-894-9561. Additionally, Google results on GALETTO’s IP
Address revealed that on January 06, 2021, GALETTO logged into Google related services
multiple times from Fairfax, Virginia.

       According to records obtained through a search warrant which was served on Verizon on
01/06/2021, in an around of the time of the incident, the cellular phone associated with 714-894-
9561 was identified as having utilized a cell site consistent with providing service to a
geographic area that included the interior of the United States Capitol building.

        Subpoena results from American Airlines revealed that on January 05, 2021, GALETTO
flew from Los Angeles International (LAX) to Charlotte Douglas (CLT) to Baltimore
Washington International (BWI). Subpoena results also revealed that on January 07, 2021,
GALETTO departed BWI to CLT to LAX. American Airlines records revealed cellular
telephone number 714-894-9561 as a contact for GALETTO.

       Subpoena results from GALETTO’s Citibank credit card revealed GALETTO secured a
reservation at the St. Gregory Hotel in Washington DC from January 05, 2021 to January 07,
2021. Based on records provided by Citibank, a charge in the amount of $462.10 from the St.
Gregory Hotel was incurred on January 07, 2021.

Review of Video Surveillance

        At approximately 2:40 PM on January 6, 2021, GALETTO was first seen on U.S. Capitol
video surveillance at the Lower West Terrace (LWT) tunnel entrance. GALETTO was wearing
a black Trump baseball hat, black headband, tan jacket, and a gray hoodie as he entered the
tunnel. GALETTO was one of the first individuals to enter the tunnel entrance and was met by a
large police presence denying the rioters entry into the Capitol.

        Evidence from Body Worn Camera (BWC) of a Metropolitan Police Department (MPD)
Officer B.S. captured GALETTO at the entryway doors of the LWT tunnel. At approximately
2:43:26, BWC captured GALETTO with his arms extended and pressed up against MPD officer
shields. At approximately 2:44:14 PM, BWC captured GALETTO’s body pressed up against
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officer shields. At approximately 2:46:20 PM, the BWC captured a scuffle involving
GALETTO. Officer B.S. is knocked to the ground. At approximately 2:46:28 PM, BWC
captured GALETTO on one knee with a hand on the ground. At approximately 2:47:02 PM,
GALETTO rises to his feet and retreats from the area of the tunnel.

     The following still photo is from MPD Officer B.S.’s BWC at 2:44:01 and shows
GALETTO pushing on the officer’s shield:
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          The following still photo is from MPD Officer B.S.’s BWC at 2:46:36 while GALETTO
is still on his knee over Officer B.S.:




       Evidence from BWC of a second MPD Officer, Sergeant J.M., captured GALETTO
pushing against officer shields which continued to approximately 2:44:28 PM. At approximately
2:45 PM, BWC footage captured GALETTO with his back pushed up against officer shields.
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       The following still photo is from MPD Sergeant J.M.’s BWC at 2:44:12 where he is
pushing on officer shields:
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         The following still photo is from MPD Sergeant J.M.’s BWC approximately 8 seconds
later at 2:44:18, and he is continuing to push on officer shields:




        In a YouTube clip entitled “UNBELIEVABLE Footage / Trump Supporters Battle Cops
Inside the Capitol,” GALETTO was observed exiting the tunnel of the LWT entryway. At
approximately 27 seconds in the video, GALETTO does not appear to be wearing his black
colored “Trump” baseball hat or headband. At approximately 51 seconds into the video,
GALETTO is heard shouting to the crowd of rioters outside the tunnel, “More people!” Based
on my observations I believe GALETTO attempted to summon more rioters to the LWT tunnel
entryway to penetrate the police line.
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       GALETTO captured in the YouTube clip exiting the LWT tunnel:




Review of Police Reports

        On January 07, 2021, MPD Officer B.S. filed an Injury or Illness Report which
documented injuries he received while responding to the Capitol Riots the previous day.
Specifically, B.S.’s helmet was ripped off his head and he was hit twice by an unknown object.
As a result, Officer B.S. sustained a head injury while trying to hold a shield defense against
several individuals on January 06, 2021.

        Based on Officer B.S.’s injury report an Assault on a Police Officer investigation was
initiated by MPD Investigator T.G.

       On January 15, 2021, Investigator T.G. reviewed Officer B.S.’s BWC footage and
observed an older white male with a white/gray mustache and goatee standing in front of Officer
B.S. The older white male was wearing a tan coat with a gray hooded sweatshirt underneath, a
black knit winter hat with white block letter, yellow and black ski-type gloves and a black
backpack.

       According to T.G.’s review of Officer B.S.’s BWC, the older white male was captured
with his face pressed up against B.S.’s riot shield with both of his hands/gloves clearly holding
and pulling the top of Officer B.S.’s shield. Within a few seconds, the back of the white male’s
backpack is pressed up against Officer B.S.’s riot shield blocking the view of Officer B.S.’s
BWC. Yelling and arguing can be heard while Officer B.S.’s BWC is blocked. Officer B.S.’s
BWC view changes when Officer B.S. drops towards the bottom of his riot shield coinciding
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with the moments Officer B.S. stated his helmet was ripped off his head and he was struck two
times on the head causing him to fall down.

        Based on the information above a Be on the Look Out/ Attempt to Identify flyer was
initiated by the MPD. The following photographs were included in the flyer:




Physical Surveillance

       FBI Agents from the Los Angeles Field Division learned GALETTO would be hosting a
garage sale at his residence in Westminster, California. On March 13, 2021, Agents observed
GALETTO in front of his residence selling miscellaneous items. During the garage sale Agents
were able to take several photographs of GALETTO. Based on the Agent’s observations and
photographs from the March 13, 2021 surveillance, as well as the Agent’s review of photos and
videos depicting the Capitol Incursion, GALETTO was identifiable with BOLO-146.
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       March 13,2021 Garage Sale surveillance photograph:




        Based on the foregoing, your Affiant submits that there is probable cause to believe that
KEVIN LOUIS GALETTO violated 18 U.S.C. § 111(a), which makes it a crime to forcibly assault
or interfere with any person designated in section 1114 of this title 18 while engaged in or on
account of the performance of official duties and involved physical contact. Persons designated
within section 1114 include any person assisting an officer or employee of the United States in the
performance of their official duties.

        Your Affiant submits that there is probable cause to believe that KEVIN LOUIS
GALETTO violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

       Your Affiant submits there is also probable cause to believe that KEVIN LOUIS
GALETTO violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or
impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional
proceedings are official proceedings.
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        Your Affiant submits there is also probable cause to believe that KEVIN LOUIS
GALETTO violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; (4) knowingly engages in any act of
physical violence against any person or property in any restricted building or grounds;] or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your Affiant submits there is also probable cause to believe that KEVIN LOUIS
GALETTO violated 40 U.S.C. § 5104(e)(2)(D), (E), (F) & (G), which makes it a crime to willfully
and knowingly; (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; (E) obstruct, or impede passage through or
within, the Grounds or any of the Capitol Buildings; (F) engage in an act of physical violence in
the Grounds or any of the Capitol Buildings; and (G) parade, demonstrate, or picket in any of the
Capitol Buildings.




Further your Affiant sayeth not,

                                                      _________________________________
                                                      David J. DiMarco
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 20th day of April 2021.
                                                                             2021.04.20
                                                                             14:25:33 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
